                                          Case:15-30042-SDB Doc#:109 Filed:08/17/18 Entered:08/17/18 15:47:24                                                         Page:1 of 6
                                                                                       Form 1
                                                                                                                                                                                                         Page: 1-1
                                                                   Individual Estate Property Record and Report
                                                                                    Asset Cases
Case No.:     15-30042-SDB                                                                                                                Trustee Name:        (300012) Joy R. Webster
Case Name:      Clements, Peggy S.                                                                                                        Date Filed (f) or Converted (c): 02/16/2015 (f)
                                                                                                                                          § 341(a) Meeting Date:       04/16/2015
For Period Ending:       06/30/2018                                                                                                       Claims Bar Date: 09/23/2016

                                                      1                                           2                              3                            4                      5                          6

                                            Asset Description                                  Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                    Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                   and Other Costs)                                                             Remaining Assets

    1       115 Ovid Dr., Dublin, GA                                                                  140,000.00                        140,000.00                                       151,000.00                          FA
            Secondary Residence - Single Family Home
            home and lot (tax value: $185,658; FMV: $140,000 - 2 houses for sale on block
            listed for $180,000. New homes been for sale forever. Debtor's home build in
            1980s. Needs hot water heater. No repairs since 1980s other than heating & air
            unit. Pool repair will cost $10,000; cracks in the walls) to be surrendered

    2       checking account at Atlantic South                                                             300.00                           300.00                                               0.00                        FA

    3       misc furniture, appliances & electronics located                                               250.00                           250.00                                               0.00                        FA

    4       misc clothing on person and at residence                                                       250.00                           250.00                                               0.00                        FA

    5       misc jewelry on person and at residence                                                     1,045.00                               0.00                                              0.00                        FA

    6       whole life insurance policy (no cash value)                                                      0.00                              0.00                                              0.00                        FA

    7       retirement                                                                                  7,000.00                          7,000.00                                               0.00                        FA

    8       2013 Ford Edge                                                                             18,211.00                               0.00                                              0.00                        FA

    8       Assets               Totals          (Excluding unknown values)                       $167,056.00                         $147,800.00                                     $151,000.00                       $0.00



        Major Activities Affecting Case Closing:
                                       All assets have been liquidated by prior trustee. I will review claims and proceed with the TFR.

                                       07/30/2018 - I have determined that the case is administratively insolvent. I will proceed with closure and pro rate fees.

        Initial Projected Date Of Final Report (TFR):                       12/30/2017                               Current Projected Date Of Final Report (TFR):                        09/30/2018
                                           Case:15-30042-SDB Doc#:109 Filed:08/17/18 Entered:08/17/18 15:47:24                                                         Page:2 of 6
                                                                                     Form 2                                                                                                             Page: 2-1
                                                                     Cash Receipts And Disbursements Record
Case No.:                      15-30042-SDB                                                                      Trustee Name:                     Joy R. Webster (300012)
Case Name:                     Clements, Peggy S.                                                                Bank Name:                        Bank of Kansas City
Taxpayer ID #:                 **-***6153                                                                        Account #:                        ******0238 Checking
For Period Ending:             06/30/2018                                                                        Blanket Bond (per case limit): $4,065,000.00
                                                                                                                 Separate Bond (if applicable): N/A

    1            2                                3                                                          4                                                 5                        6                    7

  Trans.    Check or                  Paid To / Received From                               Description of Transaction                      Uniform          Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                                                                        Tran. Code          $                       $

 07/21/16                McCallar Raymer                                  Excess proceeds- sale of real estate                                                     38,926.24                                     38,926.24

              {1}        McCallar Raymer                                  on block listed for $180,000. New hom, forever.                  1110-000                                                              38,926.24

                                                                                                                            $151,000.00

                         McCallar Raymer                                  Attorney's fees and costs releated to sale                       3991-000                                                              38,926.24

                                                                                                                              -$1,977.10

                         McCallar Raymer                                  Post Sale Attorneys Fees                                         3991-000                                                              38,926.24

                                                                                                                               -$575.00

                         McCallar Raymer                                  lender's total debt                                              4110-000                                                              38,926.24

                                                                                                                            -$109,521.66

 07/29/16                Bank of Kansas City                              Bank Service Fee under 11 U.S.C. § 330(a)(1)(B), 503(b)(1),      2600-000                                           10.88              38,915.36
                                                                          and 507(a)(2)

 08/31/16                Bank of Kansas City                              Bank Service Fee under 11 U.S.C. § 330(a)(1)(B), 503(b)(1),      2600-000                                           57.68              38,857.68
                                                                          and 507(a)(2)

 09/30/16                Bank of Kansas City                              Bank Service Fee under 11 U.S.C. § 330(a)(1)(B), 503(b)(1),      2600-000                                           55.73              38,801.95
                                                                          and 507(a)(2)

 10/31/16                Bank of Kansas City                              Bank Service Fee under 11 U.S.C. § 330(a)(1)(B), 503(b)(1),      2600-000                                           57.51              38,744.44
                                                                          and 507(a)(2)

 11/30/16                Bank of Kansas City                              Bank Service Fee under 11 U.S.C. § 330(a)(1)(B), 503(b)(1),      2600-000                                           55.57              38,688.87
                                                                          and 507(a)(2)

 12/30/16                Bank of Kansas City                              Bank Service Fee under 11 U.S.C. § 330(a)(1)(B), 503(b)(1),      2600-000                                           57.34              38,631.53
                                                                          and 507(a)(2)

 01/20/17                Transfer of Funds to Successor Trustee Webster   Outgoing Wire Transfer                                           1290-000                -38,631.53                                          0.00




                                                                                                                                     Page Subtotals:                $294.71                 $294.71          true

{ } Asset Reference(s)                                                                                                                                                          ! - transaction has not been cleared
                                 Case:15-30042-SDB Doc#:109 Filed:08/17/18 Entered:08/17/18 15:47:24                                          Page:3 of 6
                                                                        Form 2                                                                                                 Page: 2-2
                                                        Cash Receipts And Disbursements Record
Case No.:                15-30042-SDB                                                       Trustee Name:                 Joy R. Webster (300012)
Case Name:               Clements, Peggy S.                                                 Bank Name:                    Bank of Kansas City
Taxpayer ID #:           **-***6153                                                         Account #:                    ******0238 Checking
For Period Ending:       06/30/2018                                                         Blanket Bond (per case limit): $4,065,000.00
                                                                                            Separate Bond (if applicable): N/A

    1            2                      3                                               4                                              5                       6                    7

  Trans.    Check or          Paid To / Received From                   Description of Transaction                 Uniform          Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                                               Tran. Code          $                       $


                                                             COLUMN TOTALS                                                                    294.71                294.71                    $0.00
                                                                   Less: Bank Transfers/CDs                                                     0.00                  0.00
                                                             Subtotal                                                                         294.71                294.71
                 true                                              Less: Payments to Debtors                                                                          0.00

                                                             NET Receipts / Disbursements                                                  $294.71                 $294.71




                                                                                                                                                                                    false

{ } Asset Reference(s)                                                                                                                                 ! - transaction has not been cleared
                                             Case:15-30042-SDB Doc#:109 Filed:08/17/18 Entered:08/17/18 15:47:24                                                  Page:4 of 6
                                                                                      Form 2                                                                                                         Page: 2-3
                                                                      Cash Receipts And Disbursements Record
Case No.:                       15-30042-SDB                                                                    Trustee Name:                 Joy R. Webster (300012)
Case Name:                      Clements, Peggy S.                                                              Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                  **-***6153                                                                      Account #:                    ******4666 Checking Account
For Period Ending:              06/30/2018                                                                      Blanket Bond (per case limit): $4,065,000.00
                                                                                                                Separate Bond (if applicable): N/A

    1            2                               3                                                          4                                              5                       6                     7

  Trans.    Check or                   Paid To / Received From                            Description of Transaction                   Uniform          Deposit             Disbursement           Account Balance
   Date      Ref. #                                                                                                                   Tran. Code          $                       $

 01/20/17                Transfer of Case Funds from Trustee Bourdeaux    Successor Trustee Incoming Wire                              1290-000                38,631.53                                     38,631.53

 01/31/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           20.37              38,611.16

 02/02/17                Capital City Bank                                Settlement of excess funds - Per Order dated 1/18/17         4110-000                                        35,426.24              3,184.92

 02/13/17     101        Akin, Webster & Matson, P.C.                     BOND PREMIUM PAYMENT ON LEDGER BALANCE AS OF                 2300-000                                           12.69               3,172.23
                                                                          12/31/2016 FOR CASE #15-30042, Reimbursement of Bond
                                    Attorneys at Law, P.O. Box 1773       Payment - Check No. 4339 - Bond No. 016027934
                                    Macon, GA 31202

 02/28/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,162.23

 03/31/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,152.23

 04/28/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,142.23

 05/31/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,132.23

 06/30/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,122.23

 07/31/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,112.23

 08/31/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,102.23

 09/29/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,092.23

 10/31/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,082.23

 11/30/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,072.23

 12/29/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,062.23

 01/31/18                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,052.23

 02/22/18     102        Akin, Webster & Matson, P.C.                     BOND PREMIUM PAYMENT ON LEDGER BALANCE AS OF                 2300-000                                             0.93              3,051.30
                                                                          12/31/2017 FOR CASE #15-30042, Reimbursement of Bond
                                    Attorneys at Law, P.O. Box 1773       Payment - Check No. 4684 - Bond No. 016027934
                                    Macon, GA 31202

 02/28/18                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,041.30




                                                                                                                                 Page Subtotals:           $38,631.53             $35,590.23             true

{ } Asset Reference(s)                                                                                                                                                     ! - transaction has not been cleared
                                          Case:15-30042-SDB Doc#:109 Filed:08/17/18 Entered:08/17/18 15:47:24                                            Page:5 of 6
                                                                               Form 2                                                                                                        Page: 2-4
                                                               Cash Receipts And Disbursements Record
Case No.:                      15-30042-SDB                                                            Trustee Name:                 Joy R. Webster (300012)
Case Name:                     Clements, Peggy S.                                                      Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                 **-***6153                                                              Account #:                    ******4666 Checking Account
For Period Ending:             06/30/2018                                                              Blanket Bond (per case limit): $4,065,000.00
                                                                                                       Separate Bond (if applicable): N/A

    1            2                             3                                                  4                                               5                        6                     7

  Trans.    Check or                 Paid To / Received From                      Description of Transaction                  Uniform          Deposit              Disbursement           Account Balance
   Date      Ref. #                                                                                                          Tran. Code          $                        $

 03/30/18                Rabobank, N.A.                            Bank and Technology Services Fee                           2600-000                                            10.00              3,031.30

 04/30/18                Rabobank, N.A.                            Bank and Technology Services Fees                          2600-000                                            10.00              3,021.30

 05/31/18                Rabobank, N.A.                            Bank and Technology Services Fees                          2600-000                                            10.00              3,011.30

 06/29/18                Rabobank, N.A.                            Bank and Technology Services Fees                          2600-000                                            10.00              3,001.30

                                                                     COLUMN TOTALS                                                                     38,631.53               35,630.23             $3,001.30
                                                                             Less: Bank Transfers/CDs                                                       0.00                    0.00
                                                                     Subtotal                                                                          38,631.53               35,630.23
                 true                                                        Less: Payments to Debtors                                                                              0.00

                                                                     NET Receipts / Disbursements                                                     $38,631.53           $35,630.23




                                                                                                                                                                                                 false

{ } Asset Reference(s)                                                                                                                                             ! - transaction has not been cleared
                                   Case:15-30042-SDB Doc#:109 Filed:08/17/18 Entered:08/17/18 15:47:24                                Page:6 of 6
                                                                        Form 2
                                                                                                                                                            Page: 2-5
                                                        Cash Receipts And Disbursements Record
Case No.:                  15-30042-SDB                                                Trustee Name:                 Joy R. Webster (300012)
Case Name:                 Clements, Peggy S.                                          Bank Name:                    Rabobank, N.A.
Taxpayer ID #:             **-***6153                                                  Account #:                    ******4666 Checking Account
For Period Ending:         06/30/2018                                                  Blanket Bond (per case limit): $4,065,000.00
                                                                                       Separate Bond (if applicable): N/A


                                        Net Receipts:         $38,926.24
                           Plus Gross Adjustments:           $112,073.76
                         Less Payments to Debtor:                  $0.00
                 Less Other Noncompensable Items:                  $0.00

                                          Net Estate:        $151,000.00




                                                               TOTAL - ALL ACCOUNTS                        NET DEPOSITS     NET DISBURSEMENTS ACCOUNT BALANCES
                                                               ******0238 Checking                                  $294.71              $294.71           $0.00

                                                               ******4666 Checking Account                          $38,631.53                 $35,630.23      $3,001.30

                                                                                                                    $38,926.24                 $35,924.94      $3,001.30
